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EXHIBIT 3
EXHIBIT 3A
                                            EXHIBIT A

                                         ATTORNEYS' FEES
                                             & COSTS
                                            SUMMARY

I.          ATTORNEYS' FEES

            UNITED STATES DISTRICT COURT Civil Action No. 16-10724-FDS
            5/1/17 - 3/25/17

Hours             @        Rate               Attorney/Paralegal           Total

       .2 hours @        $240.00/hour         Mary Ellen Sowyrda       $    48.00

147.80 hours @           $225. 00/hour        D.R.M. Ehrens            $33,255.00

     81.8 hours @        $235.00/hour         D.R.M. Ehrens            $19,223.00

     1.20 hours @        $225. 00/hour        Felicia S. Vasudevan     $   270.00

     7.0 hours @         $235.00/hour        Felicia S. Vasudevan      $ 1,645.00

     14.2 hours @        $110.00/hour        Paula M. Wright           $ 1,562.00

       .2 hours @       $115.00/hour         Paula M. Wright          $    23.00


Less Professional Courtesy Reductions*                               - $ 8,840.50

                        TOTAL ATTORNEYS' FEES BILLED AND PAID         $47,185.50

* Professional Courtesy reductions for this matter:
$1,575.00     on 5/31/17 bill
$2,025.00     on 6/30/17 bill
$4,347.50     on 07/31/17 bill
$ 893.00      on 3/26/18 bill
$8,840.50     Total Professional Courtesy Reductions




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II.         COSTS

            UNITED STATES DISTRICT COURT Civil Action No. 16-10724-FDS
            4/1/17 - 2/23/18

Copies - Internal                                                    $  36.40
Express Mail - Postage                                               $ 25.31
Online Research                                                      $ 764.16
                                  TOT AL COSTS BILLED                $   825.87




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106370Ivl
EXHIBIT 3B
                        MURPHY, HESSE, TOOMEY && LEHANE, LLP
                                                              Attorneys at Law
 TEL: (617) 479-5000                                      CRO\'(IN COLONY PLAZA                                               F1\.X: (617) ,rn>-6469
                                                   300 CROWN COLONY DRIVE, SUITE 410
                                                               P.O. BOX 9126
                                                           QUINCY, Mt\. 02269-9126

                                              REPRINT OF BILLED DETAILS TO DATE
                                                   LINCOLN SUDBURY RS D (SPED)
                                                          ALEXANDRA S.


  For Professional Services Rendered                                                                               Hours      Rate
03/01/17     PMR       Emails to/from and conference with Attorney Ehrens regarding preparation of                   0.20       $110
                       attorney fees documentations
03/03/17     DME       E-mail communications with Ms. Sowyrda concerning school counsel for                          0.10       $225
                       affidavit to support motion for summary judgment concerning attorneys' fees
03/06/17     DME        Leave voicemail for accounting concerning backup documentation for motion                    2.50       $225
                       for attorneys' fees; Work on affidavit in support of motion for summary
                       judgment for fees and record references
03/07/17     DME       Call in to Attorney Jeff Sankey and leave message; Telephone conference with                  2.90       $225
                       Jeff Sankey concerning case and affidavit concerning fees; Work on affidavit in
                       support of motion for summary judgment/fees; Review e-mail from Attorney
                                                                                                                       ~·,
                       Sankey with additional information; G»e~H1~t~~ei:.i~1:11+oo&e                                  ~,7
                       afl4.e-.H+a·H-WFFIHH,1fi-iwt-ieR-s-w-itl:H~Iee-e~ruH~·Get+AB@!-Gl:i.ffii#ne-J;)f>Wi.icf!g
                       6e l'leeffl -tltg-5a ffl6


03/07/17     PMR       Emails to/from and conference with Attorney Ehrens regarding redaction of bills               1.10      $110
                        and strategy for preparation of Motion For Attorneys' fees; conference with
                       Debra Lyons, Billing Administrator regarding coordination of bills; scan and
                       save reprints of attorney bills; conference with Attorney Ehrens regarding same


03/08/17     DME       Conference with accounting personnel concerning billing; Work on                             4.00       $225
                       facts/affidavit; Conference with paralegal concerning bills, redacting, noting
                       previous billing reductions; Work on facts with record citations
03/08/17     PMR       Continue review of billing summaries with and without rates and detailed                     0.80       $110
                       history reports; assemble, scan and save same; conference with Attorney
                       Ehrens regarding redacting project
03/09/17     DME       Conference with accounting staff concerning past billing in this case; Work on               3,80       $225
                       memorandum in support of motion for summary judgment and concise
                       statement of material facts
03/09/17     PMR       Continue assembly and scanning of billing summaries; conference with                         0.90       $] 10
                       Attorney Ehrens regarding same
03/10/17     PMR       Begin redacting billing summaries                                                            1.30       $110
03/l 0/l 7   DME       E-mail communications with Christine Dowling concerning appeal status                        0.10       $225
03/13/17     DME       E-mail communications with Assistant Attorney General Amy Spector and                        3.40      $225
                       Attorney Morrissey concerning time for filing motion for summary judgment
                                                                                                                     r"·~·
                       on attorneys' fees; Telephone conference with Assistant AG Spector concerning                  e   ,

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                     same and Attorney Morrissey's suggestion the motion is tied to the motion for
                     supplementation as well as concerning corrected Table of Contents; Draft
                     motion for extension of time to tile motion for summary judgment on issue of
                     attorneys' fees; e-file; Preparation for argument on motion to supplement;
                     Review e-mail communications from court clerk concerning possibility of
                     cancelling hearing on motion to supplement and review e-file cancelling same;
                     E mail Dr. R-am9S-&efle&fl-l+Ag-&ta~1:1s-ef        Ws sas&-feHl-a-H-1-ages-ifl-Mta~
                     St:i~eF+ei:-Gel:H't; Work on concise statement of material facts



 03/ I 3/17   PMR    Continue redacting billing summaries                                                  0.80          $110
 03/14/17     PMR    Continue redacting billing summaries                                                  2.20          $110
 03/15/17     MES    Consultation with Attorney Ehrens regarding school district attorneys affidavit       0.20          $240
                     concerning prevailing rates
 03/15/17     DME    Call in to Attorney Michael Joyce and leave message; Telephone conference             7.70          $225
                     with Michael Joyce concerning affidavit concerning prevailing rate in the
                     community; E-mail paralegal concerning joint motion filed to extend time to
                     file; E-mail communications with Assistant Attorney General Spector
                     concerning supplemental record and table of contents; E-mail reminder to
                     Attorney Sankey concerning his affidavit in support of motion for fees; E--tnfti.l
                     et>ntt1tttttieatitms-wit+i-M~wyrcla-etntee1'Rtl~~l+feeercls-~sties; Search
                                                                                                            ,......3;
                     DMS for examples of- Ws vitriole

03/16/17      DME   Search for William Crane decision concerning                Wallis'brother; E-mail 5.10              $225
                    communications with client to confirm the decision is related to             Wallis'
                    twin; Investigate - W. representation status pre-BSEA case vs. representation
                    status at the BSEA; Work on concise statement of material facts

03/17/17      DME   Draft Sowyrda affidavit in support of motion for fees; E-mail communications          4.30           $225
                    with Ms. Sowyrda concerning affidavit to support motion for attorneys' fees and
                      contact information for Attorney Michael Joyce; Review e-notice from court
                    granting motion for extension of time to file motion for summary judgment ;
                    Telephone conferences and e-mail communications with Ms. Sowyrda
                    concerning her affidavit in support of motion for attorneys' fees;
                    Revise/supplement draft motion for fees with list of affidavits in support;
                    Review and revise Attorney Sankey affidavit; Review Attorney Sankey's draft
                    affidavit in support of motion for fees and e-mail him concerning including
                    applicable fees rates; Review e-notice from court granting extension of time for
                    filing motion

03/17/17      MES   Consultation with Attorney Ehrens regarding affidavit for fees                        0.20          $240
03/18/17      PMR   Continue redacting billing summaries.                                                 1.50          $110
03/20/17      MES   Reviewed and revised affidavit regarding attorneys' fees and prevailing rate          0.30          $240
03/20/17      MES   Consultation with Attorney Ehrens regarding affidavit for hourly rate                 0.40          $240
03/20/17      DME   Investigate parents' representation in 2013; Telephone and e-mail                     2.00          $225
                    communications with Ms. Sowyrda concerning her involvement with case in
                    October 2013 and review e-mail communications forwarded by Ms. Sowyrda
                    concerning early stages of case; Conference with paralegal concerning redacting
                    bills; Receive and review signed affidavit from Attorney Sankey

03/20/17      PMR   Continue redacting summaries of bills                                                 0.80          $110
03/21/17      PMR   Redact, review and revise billing summaries; coordinate billing documents;            0.70          $l I0
                    conferences with Attorney Ehrens regarding same
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 03/22/17   DME    Review e-notice from court scheduling hearing on motion to supplement the            1.90    $225
                   record and calendar; Reviewing redacted bills
 03/23/17   DME    Review e-mail from assistant concerning redacted bills and brief conference with    0.20     $225
                    paralegal concerning same
 03/23/17   PMR    Cross-reference prebills and final bills; continue redacting billing summaries;      1.90    $110
                   assemble billing documents; scan, redact, assemble additional billing
                   summaries

 04/17/17   DME    Prepare for oral argument of motion to supplement the record                        2.00     $225
 04/18/17   DME    Final preparation for hearing on motion to supplement the record; to and from       6.20     $225
                   United States District Court for argument; Post-argument conference with
                   Assistant Attorney General Spector; E-mail update to Dr. Ramos; Review e-
                   notice from court concerning ruling on motion to supplement and scheduling
                   argument on dispositive motions for August 1 at 10 a.m.
 04/19/17   DME    Brief Westlaw research concerning credibility assessments; Record review            1.40     $225
04/20/17    DME    Telephone conference with Assistant Attorney General Amy Spector; Review            0.50     $225
                   record documents and provide Assistant AG Spector detailed response to
                   parents' request to include documents
04/21/17    PMR   Email from and conference with Attorney Ehrens regarding motion deadlines            0.20     $110
                  and related strategy for preparing supporting documentation for attorney costs
04/21/17    DME   E-mail communications with Assistant Attorney General Amy Spector and the            1.20    $225
                  Ws' attorney concerning documents at issue for record supplementation; Work
                  on affidavit in support of motion for fees; E-mail paralegal concerning schedule
                  and work needed on billing exhibits
04/25/17    DME   E-mail communications and brief conference call with Assistant AG Amy                0.40    $225
                  Spector and Attorney Morrison concerning supplementing the record; Review
                  draft motion from Assistant AG Spector concerning the record; Review e-notice
                   concerning filing motion that record is complete
04/26/17    DME   Review redacted billing summaries and notes for paralegal; Conference with           1.80    $225
                  paralegal; Review e-notice from court concerning complete record
04/27/17    DME   Work on summary judgment/attorneys' fees motion                                     0.60     $225
04/28/17    DME   Telephone conference with Assistant Attorney General Amy Spector concerning         0.50     $225
                   motion schedule; Calendar dispositive motion deadlines; Prepare form of
                  affidavit for Attorney Michael Joyce; E-mail Attorney Michael Joyce concerning
                   schedule for filing clispositive motions
05/02/17    DME   Review e-mail from Attorney Michael Joyce concerning affidavit to support           0.10     $225
                  motion for attorneys' fees
05/09/17    PMR   Continue redaction and mark up of billing summaries; conference with                2.70     $110
                  Attorney Ehrens regarding same
05/09117    DME   Review research of I st Circuit and Judge Saylor attorneys' fees cases and          2.70     $225
                  follow-up; Draft items for concise statement of material facts and affidavit of
                  counsel
05/I0/17    PMR   Continue redacting and markup of billing summaries; email to Attorney Ehrens        1.00     $110
                   for review of same; email, telephone call from and conference with Attorney
                  Ehrens regarding same
05/10/17    DME   Review edits to printed bill detail and conference with paralegal concerning        0.70     $225
                  same; Edit affidavit in support of motion for summary judgment on fees
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 05/16/17   DME    Review e-mail and draft affidavit from Michael Joyce and respond; E-mail          1.00    $225
                   Michael Joyce concerning affidavit; Revise affidavit and forward to Michael
                   Joyce; E-mail Bella Wong concerning claim for attorneys' fees and reducing
                   hourly rate for travel time; Telephone conference with paralegal concerning
                   billing documentation

 05/18/17   DME    Review Assistant Attorney General's response for the BSEA to Attorney             0.80    $225
                   Morrison's motion for leave to file excess pages; Consider options and respond
                   with Lincoln-Sudbury's position and edits to motion; review John Morrissey's
                   revised motion and respond
 05/22/17   PMR    Continue mark up and redacting billing summaries; conferences with Attorney       1.00    $110
                   Ehrens regarding same
 05/22/17   DME    Review response from Bella Wong concerning reducing time for travel and           0.10    $225
                   respond; E-mail communications with Bella Wong concerning recovering for
                   time for filing petition for fees
 05/23/17   PMR    Continue mark up and redacting billing summaries; telephone calls to/from and     1.40    $110
                    conferences with Attorney Ehrens regarding same
05/23/17    DME    Follow-up e-mail to Attorney Michael Joyce concerning affidavit to support        0.10    $225
                   motion for attorneys' fees
05/24/17    DME   Telephone conference with Michael Joyce concerning affidavit to support claim     0.50     $225
                  for fees; Revise affidavit and e-mail revised version to Attorney Joyce
                  concerning same; Receive and review scanned affidavit and print
05/26/17    PMR   Continue review, redacting and markup of billing summaries and reprint of         4.10    $110
                  bills with rates; preparation of Summary of Attorneys Fees related to BSEA
                  proceedings; telephone calls to/from and conferences with Attorney Ehrens
                  regarding above-referenced events
05/27/17    DME    Update Ms. Sowyrda's affidavit and note to her concerning same (0.3); Evaluate   8.10    $225
                    all billing documents for missing data; Search DMS for missing statements;
                   E-mail paralegal and Diane Sawin about missing documents needed and re.
                  redacting same; Total fees and costs related to BSEA proceeding, USDC case,
                  and document requests and complaints against nurses and athletic trainer;
                  Create Exhibit A to affidavit to summarize costs and fees incurred; Update
                  affidavit; Begin supplemental memorandum in support of motion for summary
                  judgment for fees with record cites
05/28/17    DME   Work on revising, editing,supplernenting memorandum in support of motion          6.90    $225
                  for summary judgment; Record review for citations
05/29/17    DME   Work on supplementing memorandum in support of motion for summary                 8.10    $225
                  judgment; Additional research; Record citation; Drafting improper purpose
                  argument; Work on editing and supplementing concise statement of material
                  facts and adding record citations
05/30/17    PMR   Continue review, redacting and markup of billing summaries and reprint of         3.70    $110
                  bills with rates; emails, telephone calls to/from and conferences with Attorney
                  Ehrens, Diane Sawin and Shawn Connors regarding above-referenced events;
                  create and tally summary of bills charged; emails, telephone calls to/from and
                  conferences with Attorney Ehrens regarding same
05/30/l 7   DME   Conferences with paralegal and accounting concerning updated billing              1.30    $225
                  information from February 25 through April 30; Review billing documents,
                  note redactions and corrections for paralegal and instructions concerning
                  calculations; Review additional caselaw and assess for inclusion in
                  memorandum of law in support of motion for summary judgment for fees


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 05/31/17    PMR    Continue review, redacting and markup of billing summaries and reprint of               0.30      $110
                    bills with rates; emails, telephone calls to/from and conferences with Attorney
                    Ehrens regarding same
 05/31/17    MES    Read and signed affidavit re extra fees                                                 0.20      $240
 05/31/17    DME    Review e-mail and draft motion to extend time to respond from Attorney                 2.80       $225
                    Morrissey; Review e-mail from Attorney Morrissey concerning filing and e-
                    notice from court; Court clerk concerning no opposition to extension of time to
                    June 6 file dispositive motions; conference with paralegal; Review and update
                    calculations; Adel new figures to costs and fees' total; Work on revising
                    memorandum in support of motion for fees; Review e-notice from court
                    allowing motion for extension
 06/01/17   DME     Conferences with paralegal concerning finalizing exhibits; Update Exhibit A            5.50      $225
                    and incorporate new fees totals into affidavit and memorandum; Further
                    revisions to memorandum in support of motion for summary judgment
06/02/17    DME     Review attorneys' fees documentation and conferences with paralegal concerning         5.30      $225
                     same; Continue work on summary judgment memorandum - reorganize and
                    rewrite
06/03/17    DME     Revising and supplementing memorandum of law in support of motion for                 6.30       $225
                    summary judgment; Supplement with additional record cites
06/03/17    DME     Editing memorandum of law in support of motion for summary judgment                   2.00       $225
                    (Professional courtesy 2.0).
06/05/17    DME     Revising memorandum in support of motion for summary judgment; Revise                 8.20       $225
                    affidavit of counsel; Draft motion for summary judgment concerning fees;
                    Finish drafting concise statement of material facts and supplement record
                    citations
06/05/17    DME     Editing memorandum in support of motion for summary judgment for fees -              3.80        $225
                    Professional Courtesy - (Professional courtesy 3.8).
06/06/17    DME    Revise Affidavit of Counsel in support of motion for fees (0.8); Edit Affidavit of    8.50       $225
                    Counsel (0.5) (Professional courtesy); Revise Concise Statement of Material
                   Facts (2.4); Edit Concise Statement of Material Facts (1.5) (Professional
                   courtesy); Final proofing and final revisions for all - motion, memorandum,
                   concise statement, and affidavit (2.0); E-frle (0.4); Review e-notices from court
                   with parents' filings, print, and initial review of memorandum of law in support
                    of their motion for summary judgment on the appeal counterclaim (0.8); E-
                   mail communications with client and Ms. Sowyrda (0.1)

06/07/17    DME    Call Judge Saylor's Docket Clerk concerning correcting first page of                 0.80        $225
                   memorandum in support of motion for summary judgment for fees; e-mail
                   Attorney Morrissey and Assistant Attorney General Amy Spector; Research
                   DESE for advisories addressing child find
06/08/17    DME    Call in to docket clerk and leave message; E-mail communications with client         3.30        $225
                   concerning motion for summary judgment for attorneys' fees filed and receipt of
                   parents' motion for summary judgment on their appeal; Research traumatic
                   brain injury and concussion in BSEA cases; E-mail communications with
                   opposing counsel and Assistant Attorney General
06/08/17    Mi;&   ~rtSttU-w~tl+-Atl:e1~tey-EtweA-s-t'egtli:e-ittg-e+igihll+ty-i-&s-Hoo                 0,...1-fl   $-;!40

06/09/17    DME    Analyze parents' memorandum in support of their motion for summary                   3.40        $225
                   judgment; Check on cites; Drafting opposition
06/11/17    DME    Review parents' statement of undisputed facts for response                           0.30        $225

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06/12/17    DME    Begin drafting response to the Ws' statement of material facts                       1.60    $225
06/13/17    DME    Work on response to the - Ws' statement of material facts, including                4.10     $225
                   additional facts.
06/14/17    DME    Work on response to the - Ws' statement of material facts                           0.50     $225
06/15/17    DME    Work on response to the - Ws' concise statement of material facts and case          2.70     $225
                   law for child find issue
06/16/17    DME   Review and highlight case law re. child find issue for opposition to the-Ws' 2.80             $225
                  motion for summary judgment
06/17/17    DME   Research BSEA cases for child find arguments; E-mail Ms. Vasudevan                   3.40     $225
                  concerning legislative history research issues
06/18/17    DME   Continue to research (through Social Law Library) BSEA cases on child find           3.20     $225
                  argument for opposition to motion for summary judgment on the - Ws'
                  counterclaims
06/19/17    DME   E-mail communications with Ms. Vasudevan concerning legislative history              3.80    $225
                  questions; Research issues ofliability for violating Child Find where no
                  eligibility, waiver/preservation of argument
06/19/17    FSC   Conferenced with Attorney Ehrens; Compiled list of legislative changes and           l.20    $225
                  found history
06/20/17    DME   Work on opposition to summary judgment, including additional research on             3.10    $225
                  issue of violating child find when there is no eligibility determination
06/21/17    DME   Work on opposition to motion for summary judgment; E-mail                            3.10    $225
                  communications with Attorney Morrissey and Assistant Attorney General Amy
                   Spector concerning extension of deadline for filing oppositions-for BSEA and
06/22/17    DME   Continue work on opposition to motion for summary judgment on                        5.60    $225
                  counterclaims
06/23/17    DME   Continue work on response to the - Ws' statement of facts (2.0); Work on            4.10     $225
                  opposition/writing new arguments and finding record support (2.0); E-mail
                  communications with Assistant AG Spector concerning opposition due date
06/24/17    DME   Finish drafting response to the -Ws' statement of material facts with record 5.30            $225
                  citations and add more facts
06/25/17    DME   Finalize draft of response to the       Ws' statement of facts and additional facts; 3.10    $225
                  Begin drafting opposition to the        Ws' motion for summary judgment on the
                  attorneys' fees issue
06/26/17    DME   Continue drafting opposition to the - Ws' motion for summary judgment re.           7.50     $225
                  attorneys' fees; Record search for citations. (Professional courtesy 3.0
06/27/17    DME   Finish drafting opposition to - Ws' motion for summary judgment on the              3.50     $225
                  attorneys' fees issue
06/29/17    DME   E-mail communications with Assistant AG Spector concerning scheduling               0.10     $235
Q6f3GA-9-   9MB   Review-e..-mttH-fr0m--Attm·rte-y-6h1•i·stifle-90wl·it1g-wi#M1ppea+s-eetH~riefs-in fHQ        ~
                  ~ppeaH1'0l'l'l-the-&upe1:.i0P-Getwt-Ele&ittien-e·isrn~iHg-tal,1etF-ease-ana
                  p1'trtH31:.iefa
07/01/17    DME   Work on arguments in opposition to the - Ws' motion for summary judgment 5.50                $235
                   on their counterclaim; Check for additional record citations; Supplement
                  response to concise statement of material facts (Professional courtesy 2.5)


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 07/02/17      DME    Work on arguments in opposition to the- Ws' motion for summary judgment 7.50                                   $235
                       on their counterclaim; Check for additional record citations; Revisions to draft;
                       Supplement response to concise statement of material facts; Editing draft (J.O)
                      (Professional courtesy 4.0)
 07/03/17      DME    Finish editing draft; Further revisions; Proof and revise opposition to motion                      7.60       $235
                      re. attorneys' fees (Professional courtesy 4.5)
 07/04/17      DME    Continue revising, editing summary judgment documents                                               6.60       $235
                      Professional courtesy - 3 .3
Q:l.l-0-5m     F&G    Re-v-iewea-&1:1~&gmeitt-met-if>w,-Gettfe1:etleea-wi#l--Atteffiey-Bhre1ts                            Q..8(.)    ~
07/05/17       DME    Work on eliminating pages from summary judgment opposition to meet 20-                             4.20        $235
                      page limit and statement of facts; Conference with Ms. Vasudevan concerning
                      issues (Professional courtesy - 2.0)
07/06/17       FSC    Edited briefs and statement of facts                                                                1.00       $235
07/06/17       DME    Additional memorandum and statement of facts revisions and cuts to limit                           4.40        $235
                      memorandum to 20 pages; Professional courtesy 2.2
07/07/17       DME   E-mail communications with Assistant Attorney General Amy Spector and             3.50                         $235
                     Attorney John Morrissey concerning BSEA's request for additional time to
                     determine whether to file opposition; Review BSEA's motion for additional
                     time; Review and make edits from Ms. Vasudevan's proofing of opposition to
                     the        Ws' motion for summary judgment on counterclaims, response to
                     statement of material facts, and opposition to the - Ws' motion for summary
                     judgment on the attorneys' fees issue; Review e-notices from court and
                     download and file the          Ws' opposition to our motion for summary judgment
                     on fees and the affidavit of John Morrissey and exhibits thereto as well as their
                     response to our statement of material facts; E-mail all filings to client

07/10/17       DME   Review e-notice from court granting BSEA's motion for time to oppose -Ws' 0.10                                 $235
                     motion for summary judgment
07/13/17       DME   Review opposition to motion for summary judgment on fees and response to                           6.70        $235
                     statement of material facts; Draft reply to opposition and to responses to
                     statement of facts
07/14/17       DME   Review, revise, edit and finalize Lincoln-Sudbury's reply to the - Ws'        6.10                             $235
                     opposition to Lincoln-Sudbury's motion for attorneys' fees and to their
                     responses to Lincoln-Sudbury's statement of undisputed material facts; E-file
                     Reply and forward copy to client; Review e-notice re. - Ws'filing their reply
                     to Lincoln-Sudbury's opposition to their motion for summary judgment on the
                      counterclaims (appeal) and forward to client
07/17/17       DME   Review e-notice from Court with the BSEA's opposition to the - Ws' motion U.2U                                 $235
                     for summary judgment on their counterclaims and e-mail to client
07/30/17       DME   Begin review for oral argument on motion for summary judgment on foes and                         0.90         $235
                     opposing motion for summary judgment on counterclaims
07/31/17       DME   Preparation for oral argument on motions for summary judgment concerning                          4.50         $235
                     attorneys' fees and appeal from BSEA decision
08/01/17       DME   Preparation for court hearing; To and from United States District Court for                       4.10         $235
                     hearing on Lincoln-Sudbury's motion for attorneys' fees and motion for
                     summary judgment on counterclaims; Review e-notice from court documenting
                      oral argument; E-mail client about the oral argument; Review CM/ECF notice
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                     feaet'ftt-fteHetH1+1E1-frt-at&a1313~e1tfkte-tieH
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 3/12/18   PMR    Emails to/from Attorneys Sowyrda and Ehrens regarding billing rate                  0.20     $115
                  matters on Reprint of Detailed Bills; email from Diane Sawin,
                  Accounting, attaching revised Reprint of Detailed Bills; review same
                              '
 3/14/18   FSC    Emailed Attorney Sankey and Joyce about updated affidavits; Edited                 0.80      $235
                  Attorney Joyce's affidavit; Reviewed motion and memo of law for
                  Updating; Emailed Attorney Ehrens on finalizing the motion and
                  memo; Updated Attorney Sankey's affidavit.

03/15/18   FSC    Conferenced with Attorney Ehrens about the memorandum of law and                  0.40       $235
                  affidavits

3/23/18    FSC    Drafted motion for summary judgment                                              2.00        $235

3/24/18    FSC    Drafted memo of law for attorneys' fees                                          1.00        $235

3/25/18    FSC   Drafted memo of Jaw for attorneys' fees                                           1.80        $235




                 Total fees for this matter                    290.20 hrs          $62,935.00

 Disbursements                                                                                               Rate     Amount
03/08/17         Copies - Internal                                                        $34.80
03/23/17         Copies - Internal                                                        $49.00
04/19/17         Online Research                                                         $179.50
05/09/17         Copies - Internal                                                         $5.20
05/10/17         Online Research                                                          $18.43
05/16/17         Online Research                                                          $23.08
05/26/17         Copies - Internal                                                         $0.60
05/29/17         Online Research                                                          $92.13
06/06/17         Messenger Service (xprcou)                                               $25.31
06/08/17         Online Research                                                          $15.10
06/16/17         Online Research                                                         $135.92

06/19/17         Online Research                                                          $60.41
06/26/17         Online Research                                                         $30.20
06/27/17         Online Research                                                         $27.26

07/01/17         Online Research                                                         $99.34
07/02/17         Online Research                                                         $33.11
07/05/17         Online Research                                                         $16.56
07/14/17         Online Research                                                         $16.56

07/31/17         Online Research                                                         $16.56
02/02/18         Copies - Internal                                                       $24.80
02/06/18         Copies - Internal                                                        $2.00
02/20/18         Copies - Internal                                                        $2.20
02/23/18         Copies - Internal                                                        $1.60

                 Total expenses for this matter                                      $909.67
MATTER SUMMARY:
TOTAL F'EES FOR THIS MATTER                    290.20 hrs       $62,935.00
TOT AL EXPENSES FOR THIS MATTER                                    $909.67
COURTESY DISCOUNT                                                  $503.50
TOTAL BILLED FOR THIS MATTER                                    $63,341.17



FEE SUMMARY:
CRR       Rhodes Jr., Clifford R.            hrs
DSD       Davids, Donna S.                   hrs
KMM       Murphy, Kathryn M.                 hrs

                                    290.20             $62,935.00
LINC04 / 00035                                                               Page 8 of8
EXHIBIT 3C
                      MURPHY, HESSE, TOOMEY & LEHANE, LLP
                                                Attorneys at Law

TEL: (617) 479-5000                     300 CROWN COLONY DRIVE, SUITE 410                      FAX: (617) 479-6469
                                                   P.O. BOX 9126
                                               QUINCY, iviA 02269-9126




Aida Ramos                                                                                 Bill date 03/09/17
Director of Student Services                                                           Bill number 66501
Lincoln Sudbury Regional School District                                           Billing through 01/31/17
390 Lincoln Road
Sudbury, MA 01776



  00001          General Ongoing




                        Total fees for this matter                                3.10 hrs          $697.50


  00035                               Wallis

For professional services rendered:

 E-mail communications (12/30) with assistant concerning downloading, printing, and saving parents'
 motion to supplement/correct record and supporting documents and review e-notice from court, motion to
 supplement the record, memorandum and supporting documents supplement/correct the record, (exhibits,
 table of corrections, allegedly missing documents); E-mail Assistant Attorney General concerning parents'
 exhibits; E-mail communications with Attorn~ten~ive review of parents' exhibits and
                             5
 record, including affidav~~ o~ ........ ~~~for, and Lawrence Academy math
 teacher; E-mail and telephone communications with Assistant Attorney General concerning BSEA's
 position and documents and compare documents with those submitted with parents' closing argument;
 Began work on opposition to motion to supplement the record - research and record/document review;
 Record review for omissions (witness lists and table of contents from District's exhibit book); Extensive
 e-mail communications with Assistant Attorney General Spector concerning issues with record, including
 missing witness lists and documentation of District's exhibit book; Continue drafting legal

   LINC04 66501                                                                              Page   1
  arguments/opposition to motion to supplement the record, including additional research (1/9); Review
 message from Assistant Attorney General Amy Spector; Call in to Amy Spector; Telephone conference
 with Amy Spector; Continue work on opposition to motion to supplement the record; Finish drafting
 opposition to motion to supplement arguments; Check :file and online calendar for status; Telephone call to
 judge's docket clerk concerning status conference and rescheduled date for same; Research additional
 argument for opposition to motion to supplement the record; Additional research re. supplementation and
 add to opposition; Searching administrative record in connection with opposition to motion to supplement;
 Telephone conference and e-mail communications with Assistant Attorney General Amy Spector Work
 concerning parents' April 6, 2015, motion to postpone hearing filed/received 4/7/15 and her questions;
 Locate documents and e-mail to Assistant Attorney General Spector; Locate record citations; E-mail
 communicwc;ms with Attorney Morrissey requesting assent to extension of time to January 27 to oppose
 the .. m~tion to supplement; Telephone conference with Assistant Attorney General Amy Spector;
 Draft assented to motion for extension of time and e-mail to Attorney Morrissey and Assistant AG
 Spector; E-:file motion for extension of time; E~ ~ition to motion to supplement; E-mail
                                                        8
 communications with Dr. Ramos and forward - m otion to supplement and supporting documents;
 Telephone conference and e-mail communications with Assistant Attorney General Amy Spector
 concerning the record; Review e-notice from court allowing motion for extension of time to oppose
 motion to supplement the record; Continue editing opposition to motion to supplement; Additional online
 research/citations; E-mail communications with Assistant Attorney General; Review BSEA's draft
 opposition; E-mail Assistant Attorney General about matters addressed in memo and corrections;
 Telephone conference with Assistant Attorney General; Revisions to opposition to motion to supplement
 the record; Finalize opposition to motion to supplement the record; e-file; E-mail communications with
 court clerk concerning same; Review Assistant Attorney General Amy Spector's e-filing notices and
 e-mail communications with her concerning same; Review e-mail concerning BSEA's filing of
 supplemental record; Review e-mail from Assistant Attorney General Amy Spector concerning revised
 Table of Contents and forward to assistant for printing; Review e-mail from courtroom clerk; Review
 e-notices from court and e-mail from assistant concerning rescheduling the February 6 status conference;
 Calendar same

                       Total fees for this matter                                50.90 hrs      $11,452.50

Disbursements:
01/09/17           Online Research                                                $51.05
01/25/17           Online Research                                                $25.53

                      Total disbursements for this matter                         $76.58



 00048




  LINC04 66501                                                                               Page   2
                     Total fees for this matter            9.90 hrs          $2,268.00



  00049
                 -

                     Total fees for this matter            3.90 hrs           $877.50

Disbursements:
01/31/17          Copies - Internal                        $99.20

                     Total disbursements for this matter   $99.20




   LINC04 66501                                                       Page    3
INVOICE SUMMARY:
TOTAL FEES FOR THIS BILL                             67.80 hrs   $15,295.50
TOT AL EXPENSES FOR THIS BILL                                       $175.78
PROFESSIONAL COURTESY DISCOUNT                  *                 $1,575.00 CR

TOTAL DUE THIS BILL                                              $13,896.28


 Bill reduced 7 hours professional courtesy in matter no. 35




LINC04 66501                                                                     Page   4
                      MURPHY, HESSE, TOOMEY & LEHANE, LLP
                                                   Attorneys at Law

TEL: (617) 479-5000                    300 CRO\'v'N COLONY DRIVE, SUITE 410                     FJ\X: (617) 479-6469
                                                     P.O. BOX 9126
                                              QUINCY, MA 02269-9126




                                              Billing Summary


Aida Ramos                                                                                  Bill date 03/15/17
Director of Student Services                                                            Bill number 66602
Lincoln Sudbury Regional School District                                            Billing through 02/28/17
390 Lincoln Road
Sudbury, MA 01776



  00001      General Ongoing
             Total fees for this matter                                   $724.50
             Total disbursements for this matter                            $0.00

  00035                       Wallis

             Total fees for this matter                                  $270.00
             Total disbursements for this matter                           $0.00

 00048
             Total fees for this matter                                $1,552.50
             Total disbursements for this matter                          $16.00

 00049 -
             Total fees for this matter                                $1,800.00
             Total disbursements for this matter                          $29.72


  INVOICE SUMMARY:
  TOT AL FEES FOR THIS BILL                               19.20 hrs           $4,347.00
  TOT AL EXPENSES FOR THIS BILL                                                  $45.72

  TOTAL DUE THIS BILL                                                         $4,392.72



  LINC04 66602
                      MURPHY, HESSE, TOOMEY & LEHANE, LLP
                                                Attorneys at Law

TEL: (617) 479-5000                   300 CRO\"v'N COLONY DRIVE, SUITE 410                    FAX: (617) 479-6469
                                                   P.O. BOX 9126
                                             QUINCY, MA 02269-9126




Aida Ramos                                                                               Bill date 03/15/17
Director of Student Services                                                         Bill number 66602
Lincoln Sudbury Regional School District                                          Billing through 02/28/17
390 Lincoln Road
Sudbury, MA 01776



  00001          General Ongoing




                        Total fees for this matter                               3.20 hrs          $724.50


 00035                            Wallis

For professional services rendered:

 E-mail Dr. Ramos concerning court scheduling/status conference; E-mail communications with client
 concerning parents' request for supplementation; E-mail client new supplementation documents (affidavits,
 etc.); Review e-noticc from court cancelling the status conference scheduled for 2/13/17 due to court
 closed because of snow; Review e-mail from clerk concerning rescheduling hearing on motion to
 supplement the record; Review e-mail communications from Assistant Attorney General Amy Spector and
 Attorney Morrissey concerning rescheduling; Review voicemail from Amy Spector concerning same;
 Check calendar and e-mail Attorneys Spector and Morrissey concerning same; Review e-mail from
 Attorney Spector to court concerning counsel's availability and review e-notice from court scheduling
 hearing on motion to supplement the record; Review e-mail from clerk concerning rescheduling hearing on
 motion to supplement the record; Review e-mail communications from Assistant Attorney General Amy

   LINC04 66602                                                                             Page   1
  Spector and Attorney Morrissey concerning rescheduling; Review voicemail from Amy Spector
  concerning same; Check calendar and e-mail Attorneys Spector and Morrissey concerning same

                       Total fees for this matter                             1.20 hrs            $270.00



  00048




                      Total fees for this matter                             6.80 hrs           $1,552.50

Disbursements:
02/28/17           Copies - Internal                                          $16.00

                     Total disbursements for this matter                      $16.00


 00049
                 -
  LINC04 66602                                                                           Page    2
                    Total fees for this matter                       8.00 hrs          $1,800.00

Disbursements:
02/16/17         Express Mail - Postage (ups)                         $29.72

                   Total disbursements for this matter                $29.72




  INVOICE SUMMARY:
  TOT AL FEES FOR THIS BILL                        19.20 hrs   $4,347.00
  TOT AL EXPENSES FOR THIS BILL                                   $45.72

  TOTAL DUE THIS BILL                                          $4,392.72




  LINC04 66602                                                                  Page    3
                      MURPHY, HESSE, TOOMEY & LEHANE, LLP
                                                   Attorneys at Law

TEL: (617) 479-5000                     300 CRO\'(IN COLONY DRIVE, SUITE 410                     FAX: (617) 479-6469
                                                     P.O. BOX 9126
                                               QUINCY, MA 02269 .. 9126




                                               Billing Summary


Aida Ramos                                                                                  Bill date 05/11/17
Director of Student Services                                                            Bill number 67048
Lincoln Sudbury Regional School District                                             Billing tlu·ough 03/31/17
390 Lincoln Road
Sudbury, MA 01776



  00001      General Ongoing
             Total fees for this matter                                    $462.00
             Total disbursements for this matter                             $0.00

  00035                        Wallis

             Total fees for this matter                                 $10,156.00
             Total disbursements for this matter                            $83.80

  00040
             -
             Total fees for this matter
             Total disbursements for this matter
                                                                          $247.50
                                                                           $13.40

  00048
             Total fees for this matter                                   $112.50
             Total disbursements for this matter                            $0.00

 00049
            -Total fees for this matter
             Total disbursements for this matter
                                                                           $45.00
                                                                           $40.16

 00050
            -Total fees for this matter
             Total disbursements for this matter
                                                                          $337.50
                                                                            $0.00

   LINC04 67048
INVOICE SUMMARY:
TOTAL FEES FOR THIS BILL       56.60 hrs   $11,360.50
TOTAL EXPENSES FOR THIS BILL                  $137.36

TOT AL DUE THIS BILL                       $11,497.86




LINC04 67048
                      MURPHY, HESSE, TOOMEY & LEHANE, LLP
                                                Attorneys at Law

TEL: (617) 479-5000                   300 CROWIN COLONY DRIVE, SUITE 410                      FAX: (617) 479-6469
                                                  P.O. BOX 9126
                                             QUINCY, IVIA 02269-9126




Aida Ramos                                                                                Bill date 05/11/17
Director of Student Services                                                          Bill number 67048
Lincoln Sudbury Regional School District                                          Billing through 03/31/17
390 Lincoln Road
Sudbury, MA 01776



  00001          General Ongoing




                        Total fees for this matter                               2.00 hrs          $462.00


 00035                            Wallis

For professional services rendered:

 Emails to/from and conference with Attorney Ehrens regarding preparation of attorney fees
 documentations; E-mail communications with Ms. Sowyrda concerning school counsel for affidavit to
 support motion for summary judgment concerning attorneys' fees; Leave voicemail for accounting
 concerning backup documentation for motion for attorneys' fees; Work on affidavit in support of motion
 for summary judgment for fees and record references; Call in to Attorney Jeff Sankey and leave message;
 Telephone conference with Jeff Sankey concerning case and affidavit concerning fees; Work on affidavit
 in support of motion for summary judgment/fees; Review e-mail from Attorney Sankey with additional
 information; Check status of State Superior Court case and e-mail communications with insurance defense
 counsel Christine Dowling concerning same; Emails to/from and conference with Attorney Ehrens
 regarding redaction of bills and strategy for preparation of Motion For Attorneys' fees; conference with
 Debra Lyons, Billing Administrator regarding coordination of bills; scan and save reprints of attorney
 bills; conference with Attorney Ehrens regarding same; Conference with accounting personnel concerning

   LINC04 67048                                                                             Page   1
 billing; Work on facts/affidavit; Conference with paralegal concerning bills, redacting, noting previous
 billing reductions; Work on facts with record citations; Continue review of billing summaries with and
 without rates and detailed history reports; assemble, scan and save same; conference with Attorney Ehrens
 regarding redacting project; Conference with accounting staff concerning past billing in this case; Work on
 memorandum in support of motion for summary judgment and concise statement of material facts;
 Continue assembly and scanning of billing summaries; conference with Attorney Ehrens regarding same;
 E-mail communications with Christine Dowling concerning appeal status; Begin redacting billing
 summaries; E-mail communications with Assistant Attorney General Amy Spector and Attorney
 Morrissey concerning time for filing motion for summary judgment on attorneys' fees; Telephone
 conference with Assistant AG Spector concerning same and Attorney Morrissey's suggestion the motion is
 tied to the motion for supplementation as well as concerning corrected Table of Contents; Draft motion for
 extension of time to file motion for summary judgment on issue of attorneys' fees; e-file; Preparation for
 argument on motion to supplement; Review e-mail communications from court clerk concerning
 possibility of cancelling hem~ wption to supplement and review e-file cancelling same; E-mail Dr.
 Ramos concerning status of- ca~e for damages in Middlesex Superior Court; Work on concise
 statement of material facts; Continue redacting billing summaries; Continue redacting billing summaries;
 Consultation with Attorney Ehrens regarding school district attorneys affidavit concerning prevailing
 rates; Call in to Attorney Michael Joyce and leave message; Telephone conference with Michael Joyce
 concerning affidavit concerning prevailing rate in the community; E-mail paralegal concerning joint
 motion filed to extend time to file; E-mail communications with Assistant Attorney General Spector
 concerning supplemental record and table of contents; E-mail reminder to Attorney Sankey concerning his
 affidavit in support of motion for fees; E-mail com~1_1,ications with Ms. Sowyrda concerning 2013
records issues; Search PM~ for examples of    1111      vl1riole; Search for William Crane decision
~ - Dt~!mer; E-mail communications with client to confirm the decision is related to
..... ~ tigate - ¥¥presentation status pre-BSEA case vs. representation status at the
BSEA; Work on concise statement of material facts; Consultation with Attorney Elu·ens regarding
affidavit for fees; Draft Sowyrda affidavit in support of motion for fees; E-mail communications with Ms.
Sowyrda concerning affidavit to support motion for attorneys' fees and contact information for Attorney
Michael Joyce; Review e-notice from court granting motion for extension of time to file motion for
summary judgment ; Telephone conferences and e-mail communications with Ms. Sowyrda concerning
her affidavit in support of motion for attorneys' fees; Revise/supplement draft motion for fees with list of
affidavits in support; Review and revise Attorney Sankey affidavit; Review Attorney Sankey's draft
affidavit in support of motion for fees and e-mail him concerning including applicable fees rates; Review
e-notice from court granting extension of time for filing motion; Continue redacting billing summaries.;
Consultation with Attorney Ehrens regarding affidavit for hourly rate; Reviewed and revised affidavit
regarding attorneys' fees and prevailing rate; Investigate parents' representation in 2013; Telephone and
e-mail communications with Ms. Sowyrda concerning her involvement with case in October 2013 and
review e-mail communications forwarded by Ms. Sowyrda concerning early stages of case; Conference
with paralegal concerning redacting bills; Receive and review signed affidavit from Attorney Sankey;
Continue redacting summaries of bills; Redact, review and revise billing summaries; coordinate billing
documents; conferences with Attorney Ehrens regarding same; Review e-notice from court scheduling
hearing on motion to supplement the record and calendar; Reviewing redacted bills; Review e-mail from
assistant concerning redacted bills and brief conference with paralegal concerning same; Cross-reference
prebills and final bills; continue redacting billing summaries; assemble billing documents; scan, redact,
assemble additional billing summaries


                      Total fees for this matter                                51.30 hrs      $10,156.00

 LINC04 67048                                                                               Page   2
 Disbursements:
 03/31/17           Copies - Internal                         $83.80

                       Total disbursements for this matter    $83.80



  00040
                  -
For professional services rendered:




                       Total fees for this matter             1.10 hrs          $247.50

Disbursements:
03/23/17            Express Mail - Postage (ups)              $13.40

                       Total disbursements for this matter    $13.40


  00048




                       Total fees for this matter            0.50 hrs           $112.50


  00049
                 -
                       Total fees for this matter            0.20 hrs           $45.00

Disbursements:
03/07/17           Express MaiL- Postage (ups)               $40.16

                      Total disbursements for this matter    $40.16

   LINC04 67048                                                          Page   3
00050
          -
               Total fees for this matter                      1.50 hrs          $337.50




INVOICE SUMMARY:
TOTAL I<'EES FOR THIS BILL                  56.60 hrs   $11,360.50
TOTAL EXPENSES FOR THIS BILL                               $137.36

TOT AL DUE THIS BILL                                    $11,497.86




LINC04 67048                                                              Page   4
                      MURPHY, HESSE, TOOMEY & LEHANE, LLP
                                                   Attorneys at Law

TEL: (617) 479-5000                    300 CROWN COLONY DRlVE, SUITE 410                          FAX: (617) 479-6469
                                                  P.O. BOX 9126
                                              QUINCY, J\IIJ-\. 02269--9126




                                              Billing Summary


Aida Ramos                                                                                    Bill date 05/16/17
Director of Student Services                                                              Bill number 67156
Lincoln Sudbury Regional School District                                              Billing through 04/30/17
390 Lincoln Road
Sudbury, MA 01776



  00001      General Ongoing
             Total fees for this matter                                $1,624.50
             Total disbursements for this matter                          $30.56

  00035                       Wallis

             Total fees for this matter                                $3,307.00
             Total disbursements for this matter                         $179.50

  00049
             -
             Total fees for this matter
             Total disbursements for this matter
                                                                              $0,00
                                                                             $45.32

  00050
             -
             Total fees for this matter
             Total disbursements for this matter
                                                                        $202.50
                                                                          $0.00

  00051
             -
             Total fees for this matter
             Total disbursements for this matter
                                                                        $675.00
                                                                          $8.80




   LINC04 67156
INVOICE SUMMARY:
TOT AL FEES FOR THIS BILL       25.90 hrs   $5,809.00
TOT AL EXPENSES FOR THIS BILL                 $264.18

TOT AL DUE THIS BILL                        $6,073.18




LINC04 67156
                      MURPHY, HESSE, TOOMEY & LEHANE, LLP
                                                 Attorneys at Law

TEL: (617) 479-5000                     300 CRO\v'N COLONY DRIVE, SUITE 410                    FAX: (617) 479-6469
                                                    P.O. BOX 9126
                                               QUINCY, MA 02269-9126




Aida Ramos                                                                                 Bil1 date 05/16/17
Director of Student Services                                                           Bill number 67156
Lincoln Sudbury Regional School District                                           Billing through 04/30/17
390 Lincoln Road
Sudbury, MA 01776



  00001          General Ongoing




                         Total fees for this matter                               7.20 hrs          $1,624.50

Disbursements:
04/24/17              Travel (DME)                                                $30.56


                         Total disbursements for this matter                      $30.56



  00035                             Wallis

f otJ2t:ofessional services rendered:
 Prepare for oral argument of motion to supplement the record; Final preparation for hearing on motion to
 supplement the record; to and from United States District Court for argument; Post-argument conference

   LINC04 67156                                                                              Page     1
 with Assistant Attorney General Spector; E-mail update to Dr. Ramos; Review e-notice from court
 concerning ruling on motion to supplement and scheduling argument on dispositive motions for August 1
 at 10 a.m.; BriefWestlaw research concerning credibility assessments; Record review; Telephone
 conference with Assistant Attorney General Amy Spector; Review record documents and provide
 Assistant AG Spector detailed response to parents' request to include documents; E-mail communications
 with Assistant Attorney General Amy Spector and the Ws' attorney concerning documents at issue for
 record supplementation; Work on affidavit in support of motion for fees; E-mail paralegal concerning
 schedule and work needed on billing exhibits; Email from and conference with Attorney Ehrens regarding
 motion deadlines and related strategy for preparing supporting documentation for attorney costs; E-mail
 communications and brief conference call with Assistant AG Amy Spector and Attorney Morrison
 concerning supplementing the record; Review draft motion from Assistant AG Spector concerning the
 record; Review e-notice concerning filing motion that record is complete; Review redacted billing
 summaries and notes for paralegal; Conference with paralegal; Review e-notice from court concerning
 complete record; Work on summary judgment/attorneys' fees motion; Telephone conference with
 Assistant Attorney General Amy Spector concerning motion schedule; Calendar dispositive motion
 deadlines; Prepare form of affidavit for Attorney Michael Joyce; E-mail Attorney Michael Joyce
 concerning schedule for filing dispositive motions

                      Total fees for this matter                               14.80 hrs          $3,307.00

Disbursements:
04/19/17           Online Research                                             $179.50

                      Total disbursements for this matter                      $179.50


 00049
Disbursements:
04/18/17
                 - Travel (DME)                                                 $45.32

                      Total disbursements for this matter                       $45.32


 00050
                 -
                      Total fees for this matter                               0.90 hrs           $202.50



  LINC04 67156                                                                             Page    2
  00051
                 -
                       Total fees for this matter                                   3.00 hrs          $675.00

Disbursements:
04/30/17            Copies - Internal                                                 $8.80

                       Total disbursements for this matter                            $8.80




  INVOICE SUMMARY:
  TOTAL FEES FOR THIS BILL                             25.90 hrs            $5,809.00
  TOTAL EXPENSES FOR THIS BILL                                                $264.18

  TOT AL DUE THIS BILL                                                      $6,073.18



   Please note that effective July 1, 2017 your hourly Associate rate is scheduled to increase to
   $235. Should you have any questions, please do not hesitate to contact us.




  LINC04 67156                                                                                 Page   3
                      MURPHY, HESSE, TOOMEY && LEHANE, LLP
                                                 Attorneys at Law
TEL: (617) 479-5000                          CROWN COLONY PL.AZ.A                            FAX: (617) 479-6469
                                      300 CROWN COLONY DRIVE, SUITE 410
                                                  P.O. BOX 9126
                                              QUINCY, MA 02269-9126


                                                Billing Summary

                                                                                          Bill date 06/14/17
Aida Ramos                                                                            Bill number 67390
Director of Student Services
Lincoln Sudbury Regional School District                                           Billing through 05/31/17
390 Lincoln Road
Sudbury, MA 01776




00001
               Total fees for this matter                                 $72.00
               Total expenses for this matter                              $0.00

00035                        Wallis
               Total fees for this matter                            $8,180.00
               Total expenses for this matter                          $139.44

00051
            -  Total fees for this matter
               Total expenses for this matter
                                                                          $67.50
                                                                           $0.00




INVOICE SUMMARY:
TOT AL FEES FOR THIS BILL                                           $9,894.50
TOT AL EXPENSES FOR THIS BILL                                         $139.44
PROFESSIONAL COURTESY                                               $1,575.00
TOTAL DUE FOR THIS BILL                                             $8,458.94
                      MURPHY, HESSE, TOOMEY && LEHANE, LLP
                                                Attorneys at Law
TEL: (617) 479-5000                          CROWN COLONY PLAZA                                FAX: (617) 479-6469
                                      300 CROWN COLONY DRIVE, SUITE 410
                                                  P.O. BOX 9126
                                              QUINCY, MA 02269-9126




                                                                                           Bill date 06/14/17
Aida Ramos                                                                             Bill number 67390
Director of Student Services
Lincoln Sudbury Regional School District                                            Billing through 05/31/17
390 Lincoln Road
Sudbury, MA 01776



 00001           General Ongoing


                                                                                                            0.30




 00035                          Wallis
 For Professional Services Rendered                                                                       Hours
05/09/17    PMR        Continue redaction and mark up of billing summaries; conference with                 2.70
                       Attorney Ehrens regarding same
05/10/1 7   PMR        Continue redacting and markup of billing summaries; email to Attorney Ehrens         1.00
                       for review of same; email, telephone call from and conference with Attorney
                       Ehrens regarding same
05/16/17    DME        Review e-mail and draft affidavit from Michael Joyce and respond; E-mail             1.00
                       Michael Joyce concerning affidavit; Revise affidavit and forward to Michael
                       Joyce; E-mail Bella Wong concerning claim for attorneys' fees and reducing
                       hourly rate for travel time; Telephone conference with paralegal concerning
                       billing documentation
05/18/17    DME        Review Assistant Attorney General's response for the BSEA to Attorney               0.80
                       Morrison's motion for leave to file excess pages; Consider options and respond
                       with Lincoln-Sudbury's position and edits to motion; review John Morrissey's
                       revised motion and respond
05/22/17    DME        Review response from Bella Wong concerning reducing time for travel and             0.10
                       respond; E-mail communications with Bella Wong concerning recovering for
                       time for filing petition for fees
05/22/17   PMR       Continue mark up and redacting billing summaries; conferences with Attorney             1.00
                     Ehrens regarding same
05/23/17   DME       Follow-up e-mail to Attorney Michael Joyce concerning affidavit to support             0.10
                     motion for attorneys' fees
05/23/17   PMR       Continue mark up and redacting billing summaries; telephone calls to/from and          1.40
                     conferences with Attorney Ehrens regarding same
05/26/17   DME       Conference with paralegal concerning billing exhibits; E-mail communications           6.70
                     with Assistant Attorney General concerning Administrative Record volumes 1
                     and 2 (0.2 PC); E-mail communications with Ms. Sowyrda concerning signing
                     updated affidavit; Review billing documents, review redactions, reductions, and
                      travel time, and calculate total time less professional courtesy. [Professiona
                     courtesy 6.5 hours]

05/26/17   PMR       Continue review, redacting and markup of billing summaries and reprint of bills        4.10
                     with rates; preparation of Summary of Attorneys' Fees related to BSEA
                     proceedings; telephone calls to/from and conferences with Attorney Ehrens
                     regarding above-referenced events

05/27/17   DME       Update Ms. Sowyrda's affidavit and note to her concerning same (0.3 PC);               8.40
                     Evaluate all billing documents for missing data; Search DMS for missing
                     statements; E-mail paralegal and Diane Sawin about missing documents needed
                     and re. redacting same; Total fees and costs related to BSEA proceeding, USDC
                      case, and document requests and complaints against nurses and athletic trainer;
                      Create Exhibit A to affidavit to summarize costs and fees incurred; Update
                     affidavit; Begin supplemental memorandum in support of motion for summary
                     judgment for fees with record cites

05/28/17   DME       Work on revising, editing, supplementing memorandum in support of motion               6.90
                     for summary judgment; Record review for citations
05/29/17   DME       Work on supplementing memorandum in support of motion for summary                      8.10
                     judgment; Additional research; Record citation; Drafting improper purpose
                     argument; Work on editing and supplementing concise statement of material
                     facts and adding record citations

05/30/17   DME       Conferences with paralegal and accounting concerning updated billing                   1.30
                     information from February 25 through April 30; Review billing documents,
                     note redactions and corrections for paralegal and instructions concerning
                     calculations; Review additional case law and assess for inclusion in
                     memorandum of law in support of motion for summary judgment for fees

05/30/17   PMR       Continue review, redacting and markup of billing summaries and reprint of bills        3.70
                     with rates; emails, telephone calls to/from and conferences with Attorney
                     Ehrens, Diane Sawin and Shawn Connors regarding above-referenced events;
                     create and tally summary of bills charged; emails, telephone calls to/from and
                     conferences with Attorney Ehrens regarding same

05/31/17   MES       Read and signed affidavit re extra fees                                                0.20
  LINC04     67390                                                                          Page        2
05/31/17     DME      Review e-mail and draft motion to extend time to respond from Attorney                2.80
                      Morrissey; Review e-mail from Attorney Morrissey concerning filing and e-
                      notice from court; Court clerk concerning no opposition to extension of time to
                      June 6 file dispositive motions; conference with paralegal; Review and update
                      calculations; Add new figures to costs and fees' total; Work on revising
                      memorandum in support of motion for fees; Review e-notice from court
                      allowing motion for extension

05/31 /1 7   PMR      Continue review, redacting and markup of billing summaries and reprint of bills       0.30
                      with rates; emails, telephone calls to/from and conferences with Attorney
                      Ehrens regarding same

                   Total fees for this matter               50.60 hrs        $9,755.00

 Disbursements
05/09/17              Copies - Internal                                             $5.20
05/10/17              Online Research                                           $18.43
05/16/17              Online Research                                           $23.08
05/26/17              Copies - Internal                                          $0.60
05/29/17              Online Research                                           $92.13
                   Total expenses for this matter                              $139.44


 00051
               -                                                                                            0.10
                                                                                                            0.20
                   Total fees for this matter                0.30 hrs           $67.50



INVOICE SUMMARY:
TOT AL FEES FOR THIS BILL                           51.20 hrs           $9,894.50
TOT AL EXPENSES FOR THIS BILL                                             $139.44
[rROFESSIONAL COURTESY                                                  $1,575.00
TOTAL DUE FOR THIS BILL                                                 $8,458.94




  LINC04      67390                                                                          Page       3
                      MURPHY, HESSE, TOOMEY & LEHANE, LLP
                                                   Attorneys at Law

TEL: (617) 479-5000                    300 CROWN COLONY DIUVE, SUITE 410                         FAX: (617) 479-6469
                                                  P.O. BOX 9126
                                              QUINCY, i\1f.A 02269-9126




                                              Billing Summary


Aida Ramos                                                                                  Bill date 06/29/17
Director of Student Services                                                            Bill number 67760
Lincoln Sudbury Regional School District                                            Billing through 06/30/17
390 Lincoln Road
Sudbury, MA O 1776



  00001      General Ongoing
             Total fees for this matter                                  $687.00
             Total disbursements for this matter                           $0.00

  00035                       Wallis

             Total fees for this matter                                $23,986.50
             Total disbursements for this matter                          $266.94

 00051      -
             Total fees for this matter                                $4,342.50
             Total disbursements for this matter                          $52.85


  INVOICE SUMMARY:
  TOT AL FEES FOR THIS BILL                               128.90 hrs      $29,016.00
  TOT AL EXPENSES FOR THIS BILL                                              $319.79
  PROFESSIONAL COURTESY DlSCOUNT                      *                    $2,025.00 CR

  TOT AL DUE THIS BILL                                                    $27,310.79




  LINC04 67760
                      MURPHY, HESSE, TOOMEY & LEI-JANE, LLP
                                                Attorneys at Law

TEL: (617) 479-5000                   300 CROWN COLONY DRIVE, SUITE 410                      FAX: (617) 479-6469
                                                 P.O. BOX 9126
                                             QUINCY, rvlA 02269-9126




Aida Ramos                                                                               Bill date 06/29/17
Director of Student Services                                                         Bill number 67760
Lincoln Sudbury Regional School District                                         Billing through 06/30/17
390 Lincoln Road
Sudbury, MA 01776



  00001          General Ongoing




                        Total fees for this matter                              3.00 hrs          $687.00


 00035                            Wallis

For professional services rendered:

 Review e-mail from Attorney Michael Joyce concerning affidavit to support motion for attorneys' fees;
 Review research of 1st Circuit and Judge Saylor attorneys' fees cases and follow-up; Draft items for
 concise statement of material facts and affidavit of counsel; Review edits to printed bill detail and
 conference with paralegal concerning same; Edit affidavit in support of motion for summary judgment on
 fees; Telephone conference with Michael Joyce concerning affidavit to support claim for fees; Revise
 affidavit and e-mail revised version to Attorney Joyce concerning same; Receive and review scanned
 affidavit and print; Conferences with paralegal concerning finalizing exhibits; Update Exhibit A and
 incorporate new fees totals into affidavit and memorandum; Further revisions to memorandum in support
 of motion for summary judgment; Review attorneys' fees documentation and conferences with paralegal
 concerning same; Continue work on summary judgment memorandum - reorganize and rewrite; Revising
 and supplementing memorandum of law in support of motion for summary judgment; Supplement with

   LINC04 67760                                                                            Page   1
  additional record cites; Editing memorandum of law in support of motion for summary judgment
  (Professional courtesy 2.0).; Revising memorandum in support of motion for summary judgment; Revise
  affidavit of counsel; Draft motion for summary judgment concerning fees; Finish drafting concise
  statement of material facts and supplement record citations; Editing memorandum in support of motion for
  summary judgment for fees - Professional Courtesy - (Professional courtesy 3. 8).; Revise Affidavit of
  Counsel in support of motion for fees (0.8); Edit Affidavit of Counsel (0.5) (Professional courtesy); Revise
  Concise Statement of Material Facts (2.4); Edit Concise Statement of Material Facts (1.5) (Professional
 courtesy); Final proofing and final revisions for all - motion, memorandum, concise statement, and
 affidavit (2.0); E-file (0.4); Review e-notices from court with parents' filings, print, and initial review of
 memorandum of law in support of their motion for summary judgment on the appeal counterclaim (0. 8);
 E-mail communications with client and Ms. Sowy rda (0.1 ); Call Judge Saylor's Docket Clerk concerning
 correcting first page of memorandum in support of motion for summary judgment for fees; e-mail
 Attorney Morrissey and Assistant Attorney General Amy Spector; Research DESE for advisories
 addressing child find; Consult with Attorney Ehrens regarding eligibility issues; Call in to docket clerk and
 leave message; E-mail communications with client concerning motion for summary judgment for
 attorneys' fees filed and receipt of parents' motion for summary judgment on their appeal; Research
 traumatic brain injury and concussion in BSEA cases; E-mail communications with opposing counsel and
 Assistant Attorney General; Analyze parents' memorandum in support of their motion for summary
 judgment; Check on cites; Drafting opposition; Review parents' statement of undisputed facts for Ws'
  response; Begin drafting response to the Ws' statement of material facts; Work o~W:t:: to the       11111
  statement of material facts, including additional f~cts.; Work on response to the -..,ta,ement of
                                          11111~8ncise
  mate!·ial facts; :Vork on ~esp?nse to the                 ~tatement of m~t~rial facts and caswl~~ for child
                                                                                     11111
  find issue; Review and highlight case law re. child find issue for opposition to the         motion for
  summary judgment; Research BSEA cases for child find arguments; E-mail Ms. Vasudevan concerning
  legislative history research issues; Continue to research (through Social Law Li~rary) BSEA cases on child
 find argument for opposition to motion for summary judgment on the      11111    ~tnterclaims; E-mail
 communications with Ms. Vasudevan concerning legislative history questions; Research issues ofliability
 for violating Child Find where no eligibility, waiver/preservation of argument; Conferenced with Attorney
 Ehrens; Compiled list of legislative changes and found history; Work on opposition to summary judgment,
 including additional research on issue of violating child find when there is no eligibility determination;
 Work on opposition to motion for summary judgment; E-mail communications with Attorney Morrissey
 and Assistant Attorney General Amy Spector concerning extension of deadline for filing oppositions for
 BSE~ and replies; Continue workii      n o tR,ijtion to motion for summary judgmen~ ?n cou_n!erclaims;
 Continue work on response to the            statement of facts (2.0); Work on opposition/writing new
 arguments and finding record support (2.0); E-mail communications w~ Assistant AG Spector
 concerning opposition due date; Finish drafting response to the ~w,eµt of material facts with
 record citations and add more facts; Finalize draft of reswi;i.se to~ sl~tement of facts and
 additional facts; Begin drafting opposition to tl~ tri'otion for summary judgment on the attorneys'
 fees issue; Continue drafting opposition to the ~tfon for summary judgment re. attorneys' fees;
 Record search for citations. (Professional courtesy 3.0

                       Total fees for this matter                                 106.60 hrs      $23,986.50

Disbursements:
06/06/17            Messenger Service (xprcou)                                      $25.31
06/08/17            Online Research                                                 $15.10

   LINC04 67760                                                                                Page   2
06/16/17            Online Research                                      $135.92
06/19/17            Online Research                                        $60.41
06/26/17            Online Research                                        $30.20

                       Total disbursements for this matter               $266.94



  00051
                 -
For professional services rendered:




                       Total fees for this matter                        19.30 hrs          $4,342.50

Disbursements:
06/22/17            Express Mail - Postage (ups)                          $14.89
06/22/17            Express Mail - Postage (ups)                          $33.96
06/30/17            Copies - Internal                                      $4.00

                       Total disbursements for this matter                $52.85




  INVOICE SUMMARY:
  TOT AL FEES FOR THIS BILL                          128.90 hrs   $29,016.00
  TOT AL EXPENSES FOR THIS BILL                                      $319.79
  PROFESSIONAL COURTESY DISCOUNT *                                 $2,025.00 CR

  TOT AL DUE THIS BILL                                            $27,310.79




  LINC04 67760                                                                       Page    3
                      MURPHY, HESSE, TOOMEY && LEHANE, LLP
                                                  Attorneys at Law
TEL: (617) 479-5000                           CROWN COLONY PLA.Z,\                             FAX: (617) 479-6469
                                       300 CROWN COLONY DRIVE, SUITE 410
                                                   P.O. BOX 9126
                                               QUINCY, MA 02269-9126


                                                 Billing Summary

                                                                                           Bill date 08/30/17
Aida Ramos                                                                             Bill number 68121
Director of Student Services
Lincoln Sudbury Regional School District                                            Billing through 07/31 /1 7
390 Lincoln Road
Sudbury, MA 01776




 00001
                Total fees for this matter                                 $94.50
                Total expenses for this matter                              $2.50

00035                         Wallis
               Total fees for this matter                            $19,186.00
               Total expenses for this matter                           $209.39

00049
            -  Total fees for this matter
               Total expenses for this matter
                                                                           $0.00
                                                                           $0.90

00051
            -  Total fees for this matter
               Total expenses for this matter
                                                                       $916.50
                                                                        $14.20




INVOICE SUMMARY:
TOT AL FEES FOR THIS BILL                                            $20,197.00
TOT AL EXPENSES FOR THIS BILL                                           $226.99
PROFESSIONAL COURTESY                                                 $4,347.50
TOT AL DUE FOR THIS BILL                                             $16,076.49
                      MURPHY, HESSE, TOOMEY && LEHANE, LLP
                                                   Attorneys at Law
TEL: (617) 479-5000                            CROWN COLONY PLAZA                              FAX: (617) 479-6469
                                        300 CROWN COLONY DRIVE, SUITE 410
                                                    P.O. BOX 9126
                                                QUINCY, MA 02269-9126




                                                                                           Bill date 08/30/17
Aida Ramos                                                                             Bill number 68121
Director of Student Services
Lincoln Sudbury Regional School District                                            Billing through 07 /31/17
390 Lincoln Road
Sudbury, MA 01776



 00001


                                                                                                            0.10

                                                                                                            0.30
                      Total fees for this matter               0.40 hrs          $94.50




-
 Disbursements
                                                                                  $2.50
                      Total expenses for this matter                              $2.50


 00035                             Wallis
For Professional Services Rendered
06/27/17    DME        Finish drafting opposition to 11111 Ws' motion for summary judgment on the           3.50
                       attorneys' fees issue
06/29/17    DME        E-mail communications with Assistant AG Spector concerning scheduling               0.10
06/30/17    DME        Review e-mail from Attorney Christine Dowling with appeals court briefs in          0.10
                       the 11111 Ws' appeal from the Superior Court decision dismissing their case and
                       print briefs
07/01/17    DME        Work on arguments in opposition to the 11111 Ws' motion for summary judgment        8.00
                       on their counterclaim; Check for additional record citations; Supplement
                       response to concise statement of material facts (Professional courtesy 2.5)
07/02/17   DME       Work on arguments in opposition to the   1111 Ws' motion for summary judgment           11.50
                     on their counterclaim; Check for additional record citations; Revisions to draft;
                     Supplement response to concise statement of material facts; Editing draft (1.0)
                     (Professional courtesy 4.0)
07/03/17   DME       Finish editing draft; Further revisions; Proof and revise opposition to motion          12.10
                     re. attorneys' fees (Professional courtesy 4.5)
07/04/17   DME       Continue revising, editing summary judgment documents                                   9.90
                     (!Professional courtesy 3.3)
07/05/17   FSC       Reviewed summary judgment motion; Conferenced with Attorney Ehrens                      0.80
07/05/17   DME       Work on eliminating pages from summary judgment opposition to meet 20-                  6.20
                     page limit and statement of facts; Conference with Ms. Vasudevan concerning
                     issues (Professional courtesy 2.0)
07/06/17   FSC       Edited briefs and statement of facts                                                     1.00
07/06/17   DME       Additional memorandum and statement of facts revisions and cuts to limit                6.60
                     memorandum to 20 pages; (Professional courtesy 2.2)
07/07/17   DME       E-mail communications with Assistant Attorney General Amy Spector and                   3.50
                     Attorney John Morrissey concerning BSEA's request for additional time to
                     determine whether to file opposition; Review BSEA's motion for additional
                     time; Review and make edits from Ms. Vasudevan's proofing of opposition to
                     the1111   Ws' motion for summary judgment on counterclaims, response to
                     statement of material facts, and opposition to the1111   Ws' motion for summary
                     judgment on the attorneys' fees issue; Review e-notices from court and
                     download and file the 1111    Ws' opposition to our motion for summary judgment
                     on fees and the affidavit of John Morrissey and exhibits thereto as well as their
                     response to our statement of material facts; E-mail all filings to client

07/10/17   DME       Review e-notice from court granting BSEA's motion for time to oppose 1111 Ws'           0.10
                     motion for summary judgment
07/13/17   DME       Review opposition to motion for summary judgment on fees and response to                6.70
                     statement of material facts; Draft reply to opposition and to responses to
                     statement of facts
07/14/17   DME       Review, revise, edit and finalize Lincoln-Sudbury's reply to the 1111 Ws                6.10
                     opposition to Lincoln-Sudbury's motion for attorneys' fees and to their
                     responses to Lincoln-Sudbury's statement of undisputed material facts; E-file
                     Reply and forward copy to client; Review e-notice re. Ill Ws' filing their reply
                     to Lincoln-Sudbury's opposition to their motion for summary judgment on the
                     counterclaims ( appeal) and forward to client
07/17/17   DME       Review e-notice from Court with the BSEA's opposition to the 1111 Ws' motion            0.20
                     for summary judgment on their counterclaims and e-mail to client
07/30/17   DME       Begin review for oral argument on motion for summary judgment on fees and               0.90
                     opposing motion for summary judgment on counterclaims


  LINC04     68121                                                                            Page       2
07/31/17   DME       Preparation for oral argument on motions for summary judgment concerning        4.50
                     attorneys' fees and appeal from BSEA decision

                 Total fees for this matter             81.80 hrs       $19,186.00
 Disbursements
06/27/17             Online Research                                        $27.26
07/01/17             Online Research                                        $99.34
07/02/17             Online Research                                        $33.11
07/05/17             Online Research                                        $16.56
07/14/17             Online Research                                        $16.56
07/31/17             Online Research                                        $16.56
                 Total expenses for this matter                           $209.39


 00049
                -
-
Disbursements
                                                                             $0.90
                 Total expenses for this matter                              $0.90


00051
                -                                                                                   Hours
                                                                                                     0.10
                                                                                                     0.10
                                                                                                     0.20
                                                                                                     3.00
                                                                                                     0.20
                                                                                                     0.30
                 Total fees for this matter              3.90 hrs         $916.50




-
Disbursements
                                                                           $14.20
                 Total expenses for this matter                            $14.20

  LINC04     68121                                                                      Page    3
INVOICE SUMMARY:
TOTAL FEES FOR THIS BILL        86.100 hrs   $20,197.00
TOT AL EXPENSES FOR THIS BILL                   $226.99
PROFESSIONAL COURTESY                         $4,347.50
TOT AL DUE FOR THIS BILL                     $16,076.49
                      MURPHY, HESSE, TOOMEY & LEHANE, LLP
                                                Attorneys at Law

TEL: (617) 479-5000                     300 CROWN COLONY DRIVE, SUITE 410                     FAX: (617) 479-6469
                                                   P.O. BOX 9126
                                               QUINCY, Ivli\. 02269-9126




                                               Billing Summary


Aida Ramos                                                                                Bill date 09/20/17
Director of Student Services                                                          Bill number 68288
Lincoln Sudbury Regional School District                                          Billing through 08/31/17
390 Lincoln Road
Sudbury, MA 01776



  00001      General Ongoing
             Total fees for this matter                                 $500.00
             Total disbursements for this matter                          $0.00

  00035                        Wallis

             Total fees for this matter                                 $922.50
             Total disbursements for this matter                          $0.00


  INVOICE SUMMARY:
  TOT AL FEES FOR THIS BILL                              6.30 hrs           $1,422.50
  TOT AL EXPENSES FOR THIS BILL                                                 $0.00

  TOTAL DUE THIS BILL                                                       $1,422.50




  LINC04 68288
                      MURPHY, HESSE, TOOMEY & LEHANE, LLP
                                                Attorneys at Law

TEL: (617) 479-5000                   300 CROWN COLONY DRIVE, SUJTE 410                       F1\X: (617) 479-6469
                                                 P.O. BOX 9126
                                             QUINCY, NIA 02269-9126




Aida Ramos                                                                               Bill date 09/20/17
Director of Student Services                                                         Bill number 68288
Lincoln Sudbury Regional School District                                          Billing through 08/31/17
390 Lincoln Road
Sudbury, MA 01776



  00001          General Ongoing




                        Total fees for this matter                                2.20 hrs          $500.00


 00035                            Wallis

For professional services rendered:

 Preparation for court hearing; To and from United States District Court for hearing on Lincoln-Sudbury's
 motion for attorneys' fees and motion for summary judgment on counterclaims; Review e-notice from
 court documenting oral argument; E-mail client about the oral argument; Review CM/ECF notice

                       Total fees for this matter                                4.10 hrs           $922.50




   LINC04 68288                                                                              Page   1
INVOICE SUMMARY:
TOT AL FEES FOR THIS BILL      6.30 hrs   $1,422.50
TOTAL EXPENSES FOR THIS BILL                  $0.00

TOTAL DUE THIS BILL                       $1,422.50




LIN C04 68288                                         Page   2
                      MURPHY, HESSE, TOOMEY & LEHANE, LLP
                                                   Attorneys at Law

TEL: (617) 479-5000                   300 CROWN COLONY DRIVE, SUITE 410                        FJ\X: (617) 479-6469
                                                 P.O. BOX 9126
                                             QUINCY, i\tlA. 02269-9126




                                              Billing Summary


Aida Ramos                                                                                Bill date 10/24/17
Director of Student Services                                                          Bill number 68553
Lincoln Sudbury Regional School District                                           Billing through 09/30/17
390 Lincoln Road
Sudbury, MA 01776



  00001 General Ongoing
             Total fees for this matter                               $459.00
             Total disbursements for this matter                        $0.00

  00038
             Total fees for this matter                                   $90.00
             Total disbursements for this matter                           $0.00

  00045
            -Total fees for this matter
             Total disbursements for this matter
                                                                           $0.00
                                                                          $45.79

 00050
            -Total fees for this matter
             Total disbursements for this matter
                                                                      $585.00
                                                                        $0.00

 00051
            -Total fees for this matter
             Total disbursements for this matter
                                                                      $22.50
                                                                      $15.20




   LINC04 68553
INVOICE SUMMARY:
TOTAL FEES FOR THIS BILL       5.10 hrs   $1,156.50
TOTAL EXPENSES FOR THIS BILL                 $60.99

TOTAL DUE THIS BILL                       $1,217.49




LINC04 68553
                      MURPHY, HESSE, TOOMEY & LEHANE, LLP
                                               Attorneys at Law

TEL: (617) 479-5000                   300 CRO\'v'N COLONY DIUVE, SUITE 410               FAX: (617) 479-6469
                                                    P.O. BOX 9126
                                             QUINCY, i:VlA 02269-9126




Aida Ramos                                                                          Bill date 10/24/17
Director of Student Services                                                    Bill number 68553
Lincoln Sudbury Regional School District                                     Billing through 09/30/17
390 Lincoln Road
Sudbury, MA 01776



  00001          General Ongoing
For professional services rendered:




                       Total fees for this matter                            2.00 hrs          $459.00


 00038




                       Total fees for this matter                            0.40 hrs          $90.00


 00045

   LINC04 68553
                 -                                                                      Page   1
Disbursements:
08/01/17            Travel (DME)                              $45.79

                       Total disbursements for this matter    $45.79



  00050
                 -
For professional services rendered:




                       Total fees for this matter            2.60 hrs          $585.00


 00051
                 -
                       Total fees for this matter            0.10 hrs              $22.50

Disbursements:
07/17/17            Travel (FSC)                             $15.20

                       Total disbursements for this matter   $15.20




  LINC04 68553                                                          Page   2
INVOICE SUMMARY:
TOTAL JrEES FOR THIS BILL      5.10 hrs   $1,156.50
TOTAL EXPENSES FOR THIS BILL                 $60.99

TOTAL DUE THIS BILL                       $1,217.49




LINC04 68553                                          Page   3
                      MURPI-IY, 1-IESSE, TOOMEY & LEHANE, LLP
                                                   Attorneys at Law

TEL: (617) 479-5000                   300 CROWN COLONY DlUVE, SUITE 410                        FAX: (617) 479-6469
                                                 P.O. BOX 9126
                                             QUINCY, JVl.t\ 02269-9126




                                              Billing Summary


Aida Ramos                                                                                 Bill date 11/22/17
Director of Student Services                                                           Bill number 68896
Lincoln Sudbury Regional School District                                           Billing through 10/31 /17
390 Lincoln Road
Sudbury, MA 01776



  00001 General Ongoing
             Total fees for this matter                               $180.00
             Total disbursements for this matter                        $0.00

  00050 -
             Total fees for this matter                                   $45.00
             Total disbursements for this matter                           $0.00


  00~5~      -
             Total fees for this matter                                   $22.50
             Total disbursements for this matter                           $0.00

  00052
             Total fees for this matter                               $333.00
             Total disbursements for this matter                        $0.00


  INVOICE SUMMARY:
  TOTAL FEES FOR THIS BILL                                 2.50 hrs         $580.50
  TOTAL EXPENSES FOR THIS BILL                                                $0.00

  TOT AL DUE THIS BILL                                                     $580.50



   LINC04 68896
                      MURPHY, HESSE, TOOMEY & LEHANE, LLP
                                                Attorneys at Law

TEL: (617) 479-5000                   300 CROWN COLONY DRIVE, SUITE 410               FJ\X: (617) 479-6469
                                                 P.O. BOX 9126
                                             QUINCY, MA 02269-9126




Aida Ramos                                                                        Bill date 11/22/17
Director of Student Services                                                  Bill number 68896
Lincoln Sudbury Regional School District                                  Billing through 10/31 /l 7
390 Lincoln Road
Sudbury, MA 01776



  00001          General Ongoing
For professional services rendered:




                        Total fees for this matter                        0.80 hrs          $180.00


  00050
                 -
                        Total fees for this matter                        0.20 hrs              $45.00


  00051
                 -·
                        Total fees for this matter                        0.10 hrs           $22.50


 00052
For professional services rendered:


   LIN C04 68896                                                                     Page   1
                Total fees for this matter                  1.40 hrs          $333.00




INVOICE SUMMARY:
TOT AL FEES FOR THIS BILL                    2.50 hrs   $580.50
TOTAL EXPENSES FOR THIS BILL                              $0.00

TOT AL DUE THIS BILL                                    $580.50




LIN C04 68896                                                          Page   2
                      MURPHY, HESSE, TOOMEY & LEHANE, LLP
                                                   Attorneys at Law

TEL: (617) 479-5000                     300 CROWIN COLONY DRIVE, SUITE 410                        FAX: (617) 479-6469
                                                    P.O. BOX 9126
                                               QUINCY, MA 02269-9126




                                               Billing Summary


Aida Ramos                                                                                    Bill date 12/26/17
Director of Student Services                                                              Bill number 69122
Lincoln Sudbury Regional School District                                              Billing through 11/30/17
390 Lincoln Road
Sudbury, MA 01776



  00035                        Wallis

             Total fees for this matter                                      $67.50
             Total disbursements for this matter                              $0.00

  00051      -
             Total fees for this matter                                      $45.00
             Total disbursements for this matter                              $0.00

  00053
             Total fees for this matter                                 $987.00
             Total disbursements for this matter                          $0.00


  INVOICE SUMMARY:
  TOT AL FEES FOR THIS BILL                                4.70 hrs          $1,099.50
  TOT AL EXPENSES FOR THIS BILL                                                  $0.00

  TOT AL DUE THIS BILL                                                       $1,099.50




   LINC04 69122
                      MURPHY, HESSE, TOOMEY & LEHANE, LLP
                                                Attorneys at Law

TEL: (617) 479-5000                   300 CRO\VN COLONY DRIVE, SUITE 410                      FAX: (617) 479-6469
                                                  P.O. BOX 9126
                                             QUINCY, J\1f.J\ 02269-9126




Aida Ramos                                                                               Bill date 12/26/17
Director of Student Services                                                         Bill number 69122
Lincoln Sudbury Regional School District                                         Billing through l l/30/17
390 Lincoln Road
Sudbury, MA 01776



  00035                            Wallis

For professional services rendered:

 E-mail communications with insurance defense counsel concerning status of federal action and state
 appeals court action

                        Total fees for this matter                               0.30 hrs              $67.50


 00051
                 -
For professional services rendered:



                       Total fees for this matter                               0.20 hrs               $45.00


 00053
                 -
                       Total fees for this matter                               4.20 hrs           $987.00
   LINC04 69122                                                                             Page   1
INVOICE SUMMARY:
TOT AL FEES FOR THIS BILL       4.70 hrs   $1,099.50
TOT AL EXPENSES FOR THIS BILL                  $0.00

TOTAL DUE THIS BILL                        $1,099.50




LINC04 69122                                           Page   2
                      MURPI-IY, 1-IESSE, TOOMEY & LEHANE, LLP
                                               Attorneys at Law

TEL: (617) 479-5000                  300 CROWN COLONY DRIVE, SUITE 410                      FAX: (617) 479 6469
                                                P.O. BOX 9126
                                            QUINCY, i\tlA 02269-9126




                                              Billing Summary


Aida Ramos                                                                             Bill date 01/24/18
Director of Student Services                                                       Bill number 69402
Lincoln Sudbury Regional School District                                       Billing through 12/31/17
390 Lincoln Road
Sudbury, MA 01776



  00053
             Total foes for this matter                            $2,538.00
             Total disbursements for this matter                       $1.80


  INVOICE SUMMARY:
  TOTAL FEES FOR THIS BILL                            10.80 hrs          $2,538.00
  TOT AL EXPENSES FOR THIS BILL                                              $1.80

  TOT AL DUE THIS BILL                                                   $2,539.80




  LINC04 69402
                      MURPHY, HESSE, TOOMEY & LEHANE, LLP
                                                  Attorneys at Law

TEL: (617) 479-5000                       300 CROWIN COLONY DRIVE, SUITE 410                 F1\X: (617) 479-6469
                                                      P.O. BOX 9126
                                                 QUINCY, i\1.A 02269-9126




Aida Ramos                                                                              Bill date 01/24/18
Director of Student Services                                                        Bill number 69402
Lincoln Sudbury Regional School District                                        Billing through 12/31/17
390 Lincoln Road
Sudbury, MA 01776



  00053
                 -



                         Total fees for this matter                            10.80 hrs          $2,538.00

Disbursements:
12/31/17              Copies - Internal                                          $1.80

                        Total disbursements for this matter                      $1.80
   LINC04 69402                                                                            Page     1
INVOICE SUMMARY:
TOT AL FEES FOR THIS BILL       10.80 hrs   $2,538.00
TOT AL EXPENSES FOR THIS BILL                   $1.80

TOTAL DUE THIS BILL                         $2,539.80




LIN C04 69402                                           Page   2
                      MURPHY, HESSE, TOOMEY & LEHANE, LLP
                                                Attorneys at Law

TEL: (617) 479-5000                     300 CROWN COLONY DIUVE, SUITE 410                        FAX: (617) 479-6469
                                                   P.O. BOX 9126
                                               QUINCY, MA 02269-9126




                                               Billing Summary


Aida Ramos                                                                                   Bill date 02/28/18
Director of Student Services                                                             Bill number 69928
Lincoln Sudbury Regional School District                                             Billing through 01/31/18
390 Lincoln Road
Sudbury, MA 01776



  00001      General Ongoing
             Total fees for this matter                                     $96.00
             Total disbursements for this matter                             $0.00

  00035                        Wallis

             Total fees for this matter                                 $631.00
             Total disbursements for this matter                          $0.00


  00053 -
             Total fees for this matter                                 $399.50
             Total disbursements for this matter                          $0.00


  INVOICE SUMMARY:
  TOT AL FEES FOR THIS BILL                             5.30 hrs            $1,126.50
  TOTAL EXPENSES FOR THIS BILL                                                  $0.00

  TOT AL DUE THIS BILL                                                      $1,126.50




   LINC04 69928
                      MURPHY, HESSE, TOOMEY & LEHANE, LLP
                                                Attorneys at Law

TEL: (617) 479-5000                   300 CRO\'(IN COLONY DRIVE, SUITE 410                     FAX: (617) 479-6469
                                                   P.O. nox 9126
                                             QUINCY, i\ilt\ 02269-9126




Aida Ramos                                                                                Bill date 02/28/18
Director of Student Services                                                          Bill number 69928
Lincoln Sudbury Regional School District                                           Billing through O 1/31 /l 8
390 Lincoln Road
Sudbury, MA 01776



  00001          General Ongoing




                        Total fees for this matter                                0.40 hrs              $96.00


 00035                             Wallis

For professional services rendered:

 Law regarding further action to recover funds reviewed with Attorney Ehrens; Check rules for attorneys'
 fees matters in connection with entry of summary judgment for the E-mail communications with insurance
 defense counsel for the District; Call in to and leave message for court clerk to inquire into whether she
 knows if the judge is planning to enter or order or whether Lincoln-Sudbury should take the initiative and
 file pursuant to Civil Rule 54(d)(2); Review attorneys' fees exhibits filed with motion for summary
 judgment and conferences with paralegal concerning same; Email from and conference with Attorney
 Ehrens regarding reprint of bills in preparation for motion filing; email to and telephone call from Diane
 Sawin, Accounting Department regarding same

                       Total fees for this matter                                 3.20 hrs          $631.00


 00053
                 -
   LIN C04 69928                                                                             Page   1
               Total fees for this matter                    1.70 hrs          $399.50




INVOICE SUMMARY:
TOT AL FEES FOR THIS BILL                   5.30 hrs   $1,126.50
TOTAL EXPENSES FOR THIS BILL                               $0.00

TOTAL DUE THIS BILL                                    $1,126.50




LINC04 69928                                                            Page   2
                      MURPHY, HESSE, TOOMEY & LEHANE, LLP
                                                Attorneys at Law

TEL: (617) 479-5000                    300 CRO\'v'N COLONY DRIVE, SUITE 410                     FJ\X: (617) 479-6469
                                                    P.O. BOX 9126
                                              QUINCY, MA 02269-9126




                                              Billing Summary


Aida Ramos                                                                                  Bill date 03/19/18
Director of Student Services                                                            Bill number 70052
Lincoln Sudbury Regional School District                                            Billing through 02/28/18
390 Lincoln Road
Sudbury, MA 01776



  00035                       Wallis

             Total fees for this matter                                   $636.00
             Total disbursements for this matter                           $30.60


  INVOICE SUMMARY:
  TOTAL FEES FOR THIS BILL                               4.80 hrs             $636.00
  TOT AL EXPENSES FOR THIS BILL                                                $30.60

  TOTAL DUE THIS BILL                                                         $666.60




   LINC04 70052
                      MURPHY, HESSE, TOOMEY & LEHANE, LLP
                                                  Attorneys at Law

TEL: (617) 479-5000                       300 CROWN COLONY DRIVE, SUITE 410                  FAX: (617) 479-6469
                                                     P.O. BOX 9126
                                                 QUINCY, MA 02269-9126




Aida Ramos                                                                               Bill date 03/19/18
Director of Student Services                                                         Bill number 70052
Lincoln Sudbury Regional School District                                         Billing through 02/28/18
390 Lincoln Road
Sudbury, MA O 177 6



  00035                               Wallis

For professional seryices rendered:

 Email from and conference with Attorney Ehrens regarding preparation of attorney bills; assemble same;
 Request and review reprint of bills from firm accounting department; scan and email to Attorney Ehrens
 regarding same; Review e-notice and order from Court setting briefing schedule; E-mail Ms. Vasudevan
 and paralegal concerning same; Conference with Ms. Vasudevan; Review email correspondence between
 Attorneys Ehrens and Vasudevan regarding Court Order of Briefing Schedule; Review status/order with
 briefing schedule; E-mail communications with Ms. Vasudevan and paral~'*'c~rning entry of
 appearance needed and e-mail communications between Ms. Vasudevan, - c~unsel, and Assistant
 AG concerning extension; E-mail paralegal concerning billing detail provided and new document needed
 with correct start date; Emailed Attorney General and Attorney Williams on extension; Draft Vasudevan
 Notice of Appearance; draft Motion to Extend Briefing Schedule (Assented To); emails to/from and
 conference with Attorney Vasudevan regarding same; review reprint of bills; scan and email to Attorney
 Ehrens for review of same; email from Attorney Ehrens regarding edits to reprint of bills; Reviewed
 motion to postpone briefing; Review and revise Vasudevan Notice of Appearance; review and revise
 Motion to Extend Briefing Schedule (Assented To); efile Notice of Appearance and Motion to Extend
 Briefing Schedule (Assented To) with United States District Court of Massachusetts; download and save
 electronically filed documents; emails to/from Attorney Vasudevan regarding same; Review edited reprint
 of bills from accounting; make further edits; emails to/from Diane Sawin, Accounting Department
 regarding same

                         Total fees for this matter                             4.80 hrs          $636.00

Disbursements:
02/28/18              Copies - Internal                                         $30.60

                        Total disbursements for this matter                     $30.60



   LINC04 70052                                                                            Page   1
INVOICE SUMMARY:
TOTAL FEES FOR THIS BILL       4.80 hrs   $636.00
TOTAL EXPENSES FOR THIS BILL               $30.60

TOTAL DUE THIS BILL                       $666.60




LINC04 70052                                        Page   2
EXHIBIT 3D
                      MURPHY, HESSE, TOOMEY & LEHANE, LLP
                                                Attorneys at Law

TEL: (617) 479-5000                     300 CRO\VN COLONY DRIVE, SUITE 410                     Fi\X: (617) 479-6469
                                                   P.O. BOX 9126
                                               QUINCY, Iv!A 02269-9126




                                               Billing Summary


Aida Ramos                                                                                 Bill date 03/29/18
Director of Student Services                                                           Bill number 70146
Lincoln Sudbury Regional School District                                           Billing through 03/26/18
390 Lincoln Road
Sudbury, MA 01776



  00035                        Wallis

             Total fees for this matter                                $1,433.00
             Total disbursements for this matter                           $0.00


  INVOICE SUMMARY:
  TOT AL FEES FOR THIS BILL                              6.20 hrs            $1,433.00
  TOTAL EXPENSES IiOR THIS BILL                                                  $0.00
  PROFESSIONAL COURTESY DISCOUNT*                                              $893.00 CR

  TOTAL DUE THIS BILL                                                         $540.00




  LINC04 70146
                      MURPHY, HESSE, TOOMEY & LEHANE, LLP
                                                Attorneys at Law

TEL: (617) 479-5000                    300 CRO\VN COLONY DRIVE, SUITE 410                    FAX: (617) 479-6469
                                                  P.O. BOX 9126
                                              QUINCY, IvlA 02269-9126




Aida Ramos                                                                               Bill date 03/29/18
Director of Student Services                                                         Bill number 70146
Lincoln Sudbury Regional School District                                          Billing through 03/26/18
390 Lincoln Road
Sudbury, MA 01776



  00035                            Wallis

For P.rofessional services renqered:

 Emails to/from Attorneys Sowyrda and Ehrens regarding billing rate matters on Reprint of Detailed Bills;
 email from Diane Sawin, Accounting, attaching revised Reprint of Detailed Bills;review same; Emailed
 Attorney Sankey and Joyce about updated affidavits; Edited Attorney Joyce's affidavit; Reviewed motion
 and memo of law for updating; Emailed Attorney Ehrens on finalizing the motion and memo; Updated
 Attorney Sankey's affidavit; Conferenced with Attorney Ehrens about the memorandum of law and
 affidavits; Drafted motion for summary judgment; Drafted memo of law for attorneys' fees; Drafted memo
 of law for attorneys' fees

                        Total fees for this matter                               6.20 hrs          $1,433.00




  INVOICE SUMMARY:
  TOTAL FEES FOR THIS BILL                              6.20 hrs            $1,433.00
  TOT AL EXPENSES FOR THIS BILL                                                 ·$0.00
  PROFESSIONAL COURTESY DISCOUNT *                                           $893.00 CR

  TOT AL DUE THIS BILL                                                       $540.00




   LINC04 70146                                                                             Page    1
